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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA                          )   CRIMINAL NO.: 03-CR-331-11 (CKK)
                                                    )
                 v.                                 )
                                                    )
  WALDEMAR LORENZANA-LIMA,                          )
                                                    )
                 Defendant.                         )



                                            NOTICE

       The government respectfully submits this Notice pursuant to the Court’s September 14,

2018 Minute Order. The government has continued its efforts to ascertain the availability of Dr.

Amor Correa of FCI Carswell for the competency hearing on September 18; however, at this

time, the government has been unable to reach Dr. Correa or confirm with her associates whether

she will be available to testify. The government will continue its efforts and provide the Court

with any additional information learned during the telephonic status conference scheduled for

September 19, 2018.




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       The government defers to the Court’s determination regarding the order of expert

testimony at the September 28 hearing.1


       Respectfully submitted this 19th day of February, 2018.


                                            ARTHUR WYATT, Chief
                                            Narcotic and Dangerous Drug Section

                                     By:     /s/                  ______________
                                            Michael N. Lang
                                            Assistant Deputy Chief
                                            Narcotic and Dangerous Drug Section
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1
 The government respectfully directs the Court’s attention to its April 27, 2015 Order (see Dkt.
No. 557), which may be instructive in determining the order of testimony.
                                                2
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                               CERTIFICATE OF SERVICE


       I hereby certify that on this day, a copy of the foregoing was sent via the CM/ECF
system, to counsel of record for the Defendant.



                                            ARTHUR WYATT, Chief
                                            Narcotic and Dangerous Drug Section

                                     By:    /s/                  ______________
                                            Michael N. Lang
                                            Assistant Deputy Chief
                                            Narcotic and Dangerous Drug Section
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